










Opinion issued December 1, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00682–CV




DAVID RIPLEY AND RIPLEY ENTERPRISES, INC., Appellants

V.

PATRIOT LEASING COMPANY, Appellee




On Appeal from the 61st District Court
Harris County, Texas
Trial Court Cause No. 2004-66794




MEMORANDUM OPINIONAppellants David Ripley and Ripley Enterprises, Inc. have failed to timely file
a brief.  See Tex. R. App. P. 38.8(a) (failure of appellant to file brief).  After being
notified that this appeal was subject to dismissal, appellants did not adequately
respond.  See Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Higley.


